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                                                                    USDC SDNY
UNITED STATES DISTRICT COURT                                        DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                       ELECTRONICALLY FILED
H. Cristina Chen-Oster, Shanna Orlich, Allison Gamba,               DOC #: _________________
and Mary De Luis,                                                   DATE FILED: 5/9/2023

                              Plaintiffs,

               -against-                                                 10 Civ. 6950 (AT)

Goldman Sachs & Co. LLC and The Goldman Sachs                                 ORDER
Group, Inc.,

                        Defendants.
ANALISA TORRES, District Judge:

        On May 8, 2023, Plaintiffs filed an unopposed motion for preliminary approval of a class
action settlement in this case. ECF No. 1439. Accordingly, the May 16, 2023 final pretrial
conference is ADJOURNED sine die, the June 7, 2023 trial date is VACATED, and this matter
is STAYED until further order of the Court.

         In addition, the Court’s decision on the parties’ motions in limine, Defendants’ requests
to redact and/or seal certain pretrial materials, Defendants’ request to strike two of Plaintiffs’
trial witnesses, and Plaintiffs’ request to strike eight of Defendants’ trial witnesses is HELD IN
ABEYANCE. ECF Nos. 1407, 1410, 1427, 1435–37; see also ECF Nos. 1408, 1411.

        The parties are reminded that they may consent to proceed before the Honorable Robert
W. Lehrburger, who would then oversee the approval of the class action settlement. If the
parties consent to Judge Lehrburger’s jurisdiction, by May 15, 2023, they shall file a fully
executed Notice, Consent, and Reference of a Civil Action to a Magistrate Judge form, available
at https://nysd.uscourts.gov/node/754 and attached to this order, on the docket. The parties are
free to withhold consent without negative consequences.

        If the Court approves that form, all further proceedings will then be conducted before
Judge Lehrburger rather than before the undersigned. An information sheet on proceedings
before magistrate judges is also attached to this order. Any appeal would be taken directly to the
United States Court of Appeals for the Second Circuit, as it would be if the consent form were
not signed and so ordered.

       The Clerk of Court is directed to STAY the case and terminate the motions at ECF Nos.
1407 and 1410.

       SO ORDERED.

Dated: May 9, 2023
       New York, New York
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